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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                                 Case No. 8:10-cr-327-T-30EAJ

   ELEAZAR SOTO


                       PRELIMINARY ORDER OF FORFEITURE

          THIS CAUSE comes before the Court upon the filing of the United States’

   Motion for entry of a Preliminary Order of Forfeiture (Doc. 215), pursuant to the

   provisions of 21 U.S.C. § 853(a), and Fed. R. Crim. P. 32.2(b)(2), which, upon entry,

   shall become a final order of forfeiture as to defendant Eleazar Soto’s right, title, and

   interest in one 1972 Chevrolet 2-door convertible, Vehicle Identification Number

   1M67H2S125926 ("Chevrolet").

          Being fully advised in the premises, the Court hereby finds that the United

   States has established the requisite nexus between the offenses charged in Count

   One of the Indictment and the Chevrolet. Accordingly, it is hereby

          ORDERED, ADJUDGED AND DECREED that for good cause shown, said

   Motion (Doc. 215) of the United States is hereby GRANTED.

          It is FURTHER ORDERED that pursuant to the provisions of 21 U.S.C. §

   853(a), and Fed. R. Crim. P. 32.2(b)(2), all right, title and interest of defendant

   Eleazar Soto in the Chevrolet is hereby forfeited to the United States for disposition

   according to law.
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            The Court retains jurisdiction to enter any further orders necessary for the

   forfeiture and disposition of the property and to entertain any third party claims that

   may be asserted in these proceedings.

            DONE and ORDERED in Tampa, Florida on March 10, 2011.




   Copies to:
   Counsel/Parties of Record

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